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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                             Richmond Division

 KEVIN COOK,                              )
                                          )
 and                                      )
                                          )
 CABELL GOODMAN,                          )
                                          )
         Plaintiffs,
                                          )               Civil Action No. 3:24-cv-656
 v.                                       )
                                          )
 ADVON CORPORATION, a Florida             )
 corporation,                             )
                                          )
          Defendant.                      )


  REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
               LEAVE TO AMEND COMPLAINT

        Plaintiffs Kevin Cook and Cabell Goodman, by counsel, pursuant to Rule 15

(a)(2) of the Federal Rules of Civil Procedure, offer the following Reply Memorandum

in Support of their Motion for Leave to Amend their Complaint.

                                     ARGUMENT

      1. The Anti-Retaliation Provisions of Va. Code § 40.1-27.3 Should Be Read
         To Protect Post-employment Conduct.

        The Defendant, Advon Corporation, asserts that the Motion for Leave is futile

because the definition of “employee” in Title 40.1 of the Virginia Code is written in

the present tense. (ECF No. 22, pp. 4-5.) Advon argues from this that the Court should

interpret the statute narrowly to mean that former employees are not within the

definition and that, as a result, Virginia Code § 40.1-27.3 does not protect post-

employment conduct. Advon points to no Virginia authority supporting its position.


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       Advon’s suggestion that this Court must interpret the statute narrowly fails

because Code § 40.1-27.3 is a remedial statute and, under Supreme Court and Fourth

Circuit precedent, must be construed broadly to afford the Act’s protection to all

employees who engage in activity protected by the statute.

       The General Assembly enacted Code § 40.1-27.3 in the same session as the

Wage Payment Act, 1 as part of a set of new statutes intended to afford protections to

workers. Like the Wage Payment Act, Code § 40.1-27.3 is remedial, because its

purpose is to protect workers not otherwise in a position to protect themselves. See

Neal v. Fairfax Cty. Police Dep’t, 295 Va. 334, 343, 812 S.E.2d 444, 448 (2018) (setting

out characteristics of remedial statutes); Board of Supervisors v. Rhoads, 294 Va. 43,

51, 803 S.E.2d 329, 333 (2017); see also Lewis v. City of Alexandria, 287 Va. 474, 479,

756 S.E.2d 465, 469 (2014) (anti-retaliation provision of Virginia Fraud Against

Taxpayers Act, Code § 8.01-216.8, deemed to be remedial); Morrison v. George Mason

Univ., 113 Va. Cir. 77, 78 (Fairfax Feb. 6, 2024) (Fraud and Abuse Whistle Blower

Protection Act, Va. Code § 2.2-3009, et seq., held remedial statute).

       The Fourth Circuit has, in a similar case, held that a remedial statute that

provides protection to “employees” (without distinguishing whether the employee is

current or former) should be interpreted as covering both current and former

employees, regardless of whether the protected conduct took place during or after the




       1 The Virginia Wage Payment Act, Va. Code § 40.1-29, is a remedial statute and is to be

construed liberally to protect employees. Campbell v. Groundworks Operations, LLC, 82 Va. App. 580,
587, 908 S.E.2d 136, 139 (2024) (holding that 2020 amendments to Wage Payment Act transformed
Act from regulatory to remedial).

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employment term.

       In that case, Darveau v. Detecon, Inc., 515 F.3d 334, 342 (4th Cir. 2008), the

Fourth Circuit reversed the District Court’s holding that the anti-retaliation

provision of the FLSA, which is substantially the same as Code § 40.1-27.3, 2 excluded

former employees. The Fourth Circuit noted the remedial purpose of the FLSA’s anti-

retaliation provision, noted that the “FLSA and Title VII contain identical general

definitions of ‘employee,’” and applied the Supreme Court’s rationale from Robinson

v. Shell Oil Co., 3 in which the Supreme Court held that, for purposes of Title VII's

retaliation provision, “employee” includes both current and former employees.

Darveau v. Detecon, Inc., 515 F.3d at 342. In this Court’s examination of the Code §

40.1-27.3, Robinson v. Shell Oil provides the proper approach for parsing this

remedial statute. 4

       Code §§ 40.1-27.3 (a)(1) and (5) do not expressly limit their application to

current employees; rather, these sections prohibit employers from taking retaliatory

action against an “employee,” without any temporal qualifier. Cf. Robinson v. Shell




       2 Compare 29 U.S.C.S. § 215 (a)(3) (“discharge or in any other manner discriminate against

any employee because such employee has filed any complaint or instituted or caused to be instituted
any proceeding … or has testified or is about to testify in any such proceeding…”) with Va. Code §
40.1-27.3 (a) (1) and (5) (“discharge … threaten, discriminate against, or penalize an employee…
because the employee … reports a violation … to any governmental body [or] testifies before any
governmental body … conducting an investigation, hearing, or inquiry into any alleged violation by
the employer ….”).

       3 Robinson v. Shell Oil Co., 519 U.S. 337, 345-46 (1997).


       4 Although its decision is not binding on this Court, the District Court for the Middle District

of Florida followed Robinson v. Shell Oil in holding that the Florida Whistleblower Act applied to
former employees engaged in post-employment protected conduct. Kissinger-Campbell v. Harrell, 2009
U.S. Dist. LEXIS 5695, at *18-22 (M.D. Fla. Jan. 12, 2009).

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Oil, 519 U.S. at 341 (“there is no temporal qualifier in the statute such as would make

plain that [it] protects only persons still employed at the time of the retaliation”).

Likewise, the definition of “employee” does not include a temporal qualifier. Cf. id. at

342 (“definition of ‘employee’ likewise lacks any temporal qualifier and is consistent

with either current or past employment”). Code § 40.1-2 defines “employee” as “any

person who, in consideration of wages, salaries or commissions, may be permitted,

required or directed by any employer to engage in any employment directly or

indirectly.” Va. Code § 40.1-2. The statutory definition, however, is not an absolute

prescription: All of the definitions in that Code section are prefaced with the

statement, “unless the context clearly requires otherwise.” Id.

       Grammatically, this statutory definition of “employee” is written in the passive

voice and uses the auxiliary modal verb “may” followed by the infinitive verb “to

engage.” Modal auxiliary verbs, or “helping” verbs, are added to basic verbs to

indicate mood or tense to add specific shades of meaning. Altizer v. Commonwealth,

63 Va. App. 317, 324, 757 S.E.2d 565, 568 (2014). Modal auxiliary verbs may express

necessity, uncertainty, ability, or permission. Id. They cannot be understood or

defined in isolation but rather obtain meaning from their context. Id. In this usage,

“may” can equally express either permission or uncertainty.

       As a modal verb, the word “may” in conjunction with a passive infinitive verb,

is used to connote “be at liberty to [or] be permitted by circumstances to.” 5 Consistent




       5     Oxford    English  Dictionary,    “may    (v.1),   sense     II.i.5.b,”   March   2025,
https://doi.org/10.1093/OED/3333189731, last visited May 6, 2025).

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with this definition, Virginia Courts have held that the word “may” ordinarily imports

permission or possibility. Wal-Mart Stores E., LP v. State Corp. Comm’n, 299 Va. 57,

70, 844 S.E.2d 676, 682 n. 5 (2020) (citing multiple cases and authorities); Board of

Supervisors v. State Corp. Comm’n, 292 Va. 444, 454, 790 S.E.2d 460 (2016). In this

sense, the statute’s definition of “employee” means any person whom an employer

has, in the employer’s discretion, ever allowed to work. The definition, however,

contains no language limiting “employee” status to the period during which the

employer permits the employee to work.

       Alternatively, as a modal verb, “may” is also used to connote a non-limiting

example. See IQASR LLC v. Wendt Corp., 825 F. App’x 900, 906 (Fed. Cir. 2020). In

that usage, to say that a condition “may” occur implicitly suggests that the condition

also “may not” occur. Id. In this sense, the statutory definition of “employee” would

include, but not be limited to, a person whom an employer may currently “permit or

suffer to work.” Va. Code § 40.1-2. In other words, an employee may be someone

permitted to work, or may be a former employee, or may be an applicant for

employment that the employer has not hired.

       Regardless of its ambiguous interpretation, the definition’s verb tense does not,

as Advon argues, pin down its meaning. 6 As noted above, Code § 40.1-2 states that

all definitions must give way when the context requires it. Other parts of Title 40.1




       6 As the Supreme Court noted in Robinson, “[t]he argument that the term ‘employed,’ … is

commonly used to mean ‘performing work under an employer-employee relationship,’ … begs the
question by implicitly reading the word ‘employed’ to mean ‘is employed.’” Robinson v. Shell Oil Co.,
519 U.S. at 342.

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use the term “employee” in a context that plainly refers to prospective, current, or

former employees, but without using any such adjectives. For instance, in Code §

40.1-28.7:1 (B), an “employee” may bring a civil action against an “employer” who

fails to hire the “employee” on the basis of a genetic test. An unhired applicant would,

perforce, be in the class of “employees” that could bring such an action. Cf. Robinson

v. Shell Oil, 519 U.S. at 342 (“one may hire individuals to be employees, but one does

not typically hire persons who already are employees”). Code § 40.1-28.7:1 (B) does

not make that distinction.

      As another example, in Code § 40.1-29 (A), an “employer” is obligated to pay a

discharged “employee” all wages due “on or before the date on which he would have

been paid for such work had his employment not been terminated.” Code § 40.1-29

(A). An “employer” who fails to make that final post-employment payment to a

discharged “employee” is subject to a civil suit brought by the “employee” (Code §

40.1-29 (J)). In that context, the term “employee” must also include former employees

in the class of persons who may file such a suit. Cf. Robinson v. Shell Oil, 519 U.S. at

343 (discharged “‘employee’ … is necessarily a former employee”). Even so, Code §

40.1-29 (J) does not make that distinction.

       Likewise, Title 40.1 includes remedial provisions for the “reinstatement of the

employee,” a remedy that would apply only to former employees. See Va. Code §§ 40.1-

27.3(C), -33.1, -33.2; cf. Robinson v. Shell Oil, 519 U.S. at 342 (“because one does not

‘reinstate’ current employees, that language necessarily refers to former employees”).

Similarly, Code § 40.1-27.3 has a limitations period within which a terminated



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“employee” must file suit. See Va. Code § 40.1-27.3(C) (one year). Like the others,

even though the statute does not distinguish between current and former employees,

this provision could necessarily only apply to a former employee. Cf. Robinson v. Shell

Oil, 519 U.S. at 343. And yet the statute does not use the adjectives “current” or

“former” to modify the noun “employee.”

      The term "employee" in Title 40.1 freely denotes both current and former

employees. Accordingly, the Court should find that the word is ambiguous and

interpret it in accordance with the “familiar canon of statutory construction” for such

statutes. Tcherepnin v. Knight, 389 U.S. 332, 336 (1967) (remedial statutes to be

construed broadly); see Dennis v. Higgins, 498 U.S. 439, 443, (1991); Monell v. New

York City Dept. of Social Services, 436 U.S. 658, 684 (1978). Virginia Courts also

construe remedial statutes liberally, “so as to suppress the mischief and advance the

remedy in accordance with the legislature’s intended purpose.” University of Virginia

v. Harris, 239 Va. 119, 124, 387 S.E.2d 772, 775 (1990) (citation and internal

quotation marks omitted) (emphasis removed). “All other rules of construction are

subservient to that intent.” Id.

      The anti-retaliation provisions of Title 40.1, including §§ 40.1-27.3 and –33.2,

reflect the legislative intent to insulate former employees against an employer’s

efforts to chill their protected conduct. To not cover former employees, for otherwise

covered post-employment conduct, would “effectively vitiate much of the protection

afforded” by these sections. Robinson v. Shell Oil, 519 U.S. at 345; see Burlington N.

& Santa Fe Ry. v. White, 548 U.S. 53, 68 (2006). Consistent with the broad and liberal



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construction to which this statute is entitled, this Court should conclude that Code §

40.1-27.3 protected these Plaintiffs when they filed this lawsuit and grant the

Plaintiffs’ Motion for Leave to Amend.

   2. Plaintiffs Do Not Seek Relief Under Code § 40.1-33.2: Plaintiffs Seek
      Declaratory Judgment That Defendant’s Threatened Lawsuit Would
      Be A Violation Of Code § 40.1-33.2.

      Virginia Code § 40.1-33.2 (B) provides an aggrieved party with “appropriate

remedies” for a claim of discrimination such as “reinstatement of the employee and

recovering lost wages and an additional amount equal to the lost wages as liquidated

damages.” To be clear: Plaintiffs’ proposed Count V is not a complaint under Va. Code

§ 40.1-33.2. Count V does not seek any of the statutory remedies under that Code

section. Count V seeks only a declaratory judgment that the Defendant’s threatened

litigation is retaliatory and, if carried out, would be a violation of the statute.

      “A declaratory judgment is only a binding adjudication that establishes the

rights and other legal relations of the parties without providing for or ordering

enforcement.” Drummond Coal Sales, Inc. v. Norfolk S. Ry. Co., 3 F.4th 605, 613 n.6

(4th Cir. 2021) (cleaned up). “The purpose of a declaratory judgment is usually the

prevention of a wrong, but it commands nothing….” Id.

      Advon’s argument that Plaintiffs are bringing a claim against it under Code §

40.1-33.2 is therefore misplaced. The Court should reject that argument and grant

Plaintiffs’ Motion for Leave to Amend.

   3. Advon Is Not Prejudiced By The Timing Of Plaintiffs’ Motion For
      Leave.

      Advon claims that it is prejudiced by the timing of the filing of the Motion for


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Leave to Amend and argues that Plaintiffs are not acting in good faith by delaying

the filing of the Motion for Leave to Amend. (ECF No. 22, p. 8). It is not apparent

from Advon’s Memorandum what it means by “delay.”

       As noted in the proposed First Amended Complaint, the Cease and Desist

letters that gave rise to the Plaintiffs’ retaliation claims were sent on April 14, 2025,

and threatened imminent litigation. (ECF No. 20-1, ¶ 15). The Motion for Leave to

Amend was filed four days later, on April 18, 2025. In the interim, as alleged in the

proposed First Amended Complaint, Plaintiffs sought to have Advon retract the

threats of litigation. Id.

       On April 15, 2025, Plaintiffs’ counsel conferred telephonically with Elizabeth

Bloch, Esquire, one of Advon’s counsel, regarding the Cease and Desist letters and

advised that Plaintiffs took the position that the threats in these letters were

retaliatory. Ms. Bloch responded that matters regarding the Cease and Desist letters

would be addressed by Eric Miller, Esquire, who is also Advon’s counsel. Ms. Bloch

advised that she and Mr. Miller were scheduled to consult with their client on April

16 regarding some other discovery matters. Plaintiffs’ counsel requested that they

determine whether Advon intended to go forward with the retaliatory threat and

advise immediately. No response was forthcoming on or after April 16. Plaintiffs filed

the Motion for Leave to Amend on April 18.

       Plaintiffs have not delayed filing this Motion.

       More than four months remain before trial and more than two months remain

before the discovery cutoff in this case. The Court’s Initial Pretrial Scheduling Order



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 does not set a deadline for Motions for Leave to Amend but only requires that they

 comply with Rule 15, which permits such motions to be made before, during, or after

 trial. Fed. R. Civ. P. 15(b). Advon is not prejudiced by the timing of this Motion. The

 Court should, therefore, grant the Plaintiffs’ Motion for Leave to Amend.

    4. The Defend Trade Secrets Act Would Immunize These Plaintiffs From
       Advon’s Threatened Lawsuits.

        The Defend Trade Secrets Act, 18 U.S.C. § 1833(b)(1) (“DTSA”), grants

 immunity “under any Federal or State trade secret law for the disclosure of a trade

 secret that is made in confidence … to an attorney; and solely for the purpose of

 reporting or investigating a suspected violation of law….” Id. (cleaned up). In the

 proposed First Amended Complaint, Plaintiffs allege that this section protects their

 disclosure to counsel of the documents that Defendant claims are proprietary, or

 confidential, or trade secrets and that, as a result, Advon’s threatened litigation is

 not well-founded.

        Defendant argues that the DTSA does not protect Plaintiffs’ disclosure to their

 counsel, or to Defendant’s counsel, because “reporting or investigating a suspected

 violation of law,” the term used in the DTSA, does not include disclosing such

 information to counsel in preparation for filing a lawsuit or to producing such

 information to Defendant in discovery. (See ECF No. 20, p. 10) (“Plaintiffs’ filling of

 the lawsuit was self-directed and for monetary gain – not to ‘investigate’ a violation

 of law.”)

        The weight of authority runs against Advon’s argument. See, e.g., FirstEnergy

 Corp. v. Pircio, 524 F. Supp. 3d 732, 743 (N.D. Ohio 2021) (employee providing


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 documents to counsel has DTSA immunity); Gatti v. Granger Med. Clinic, P.C., 529

 F. Supp. 3d 1242, 1266 (D. Utah 2021) (alleged confidential documents provided to

 counsel for production in discovery in False Claims Act suit deemed immunized

 disclosure); Christian v. Lannett Co., 2018 U.S. Dist. LEXIS 52793, at *13 (E.D. Pa.

 Mar. 29, 2018) (immunized disclosure to counsel in relation to Plaintiff's underlying

 discrimination suit and to Defendant’s counsel in discovery). Clearly, the Plaintiffs

 are entitled to rely on the DTSA’s grant of immunity in sharing these alleged

 documents with their counsel – and with Advon’s counsel – as a part of this litigation.

         The Court should reject Advon’s argument that the DTSA does not immunize

 the Plaintiffs and grant the Plaintiffs’ Motion for Leave to Amend.

       5. Declaratory Judgment Is Proper In The Face Of Advon’s Threatened
          Lawsuits.

         As alleged in the proposed Amended Complaint, Advon has threatened to sue

 the Plaintiffs. Each of the Cease and Desist letters begins, “Our law firm has been

 retained to represent ADVON Corporation (‘Advon’) to provide legal notices and/or

 pursue claims against [Plaintiff], if necessary, related to any unauthorized access,

 possession, retention and/or disclosure of Advon’s confidential information and to

 ensure the return of all information, equipment, and property of Advon.” (ECF No.

 20-1 ¶ 51). After presenting a list of demands, each “Cease and Desist” letter closes

 with the statement, “Advon is further weighing moving forward with serious legal

 measures and to pursue the maximum remedies allowed by law against [Plaintiff].”

 Id.

         A declaratory judgment complaint can present a sufficiently ripe actual


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 controversy arising out of actual antagonistic assertions and denials of rights, even

 though no consequential relief is claimed at the time of the dispute. A federal district

 court should normally entertain a declaratory judgment action within its jurisdiction

 when it finds that the declaratory relief sought will serve a useful purpose in

 clarifying and settling the legal relations in issue and will terminate and afford relief

 from the uncertainty, insecurity, and controversy giving rise to the proceeding.

 Nautilus Ins. Co. v. Winchester Homes, 15 F.3d 371, 375 (4th Cir. 1994).

       Within that context, Courts have regularly held that a threat of litigation is

 enough to create a justiciable controversy for purposes of declaratory judgment.

 Granados v. Bank of Am., N.A., 2015 U.S. Dist. LEXIS 109777, at *7 (E.D. Va. Aug.

 19, 2015); Kettler Intl, Inc. v. Starbucks Corp., 55 F. Supp. 3d 839, 847 (E.D. Va. 2014)

 (threat of litigation is sufficient to establish actual controversy). Such a threat exists

 in this case and has created an antagonistic assertion of rights and a justiciable

 controversy that can and should be resolved by declaratory judgment.

       The Court should therefore reject Advon’s argument that declaratory judgment

 is improper in this case and grant the Plaintiffs’ Motion for Leave to Amend.

                                       CONCLUSION

       Advon has not shown that it will be prejudiced if this Court grants leave to

 amend the Complaint. The remainder of Advon’s opposition to the Plaintiffs’ Motion

 for Leave to Amend is an argument that the proposed First Amended Complaint is

 futile. For the reasons stated above, the Court should reject that argument. Moreover,

 much of Advon’s argument is based on its ipse dixit interpretation of a relatively new

 statute and its unfounded prediction that the Advon interpretation is the only right
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 one. As this Court has previously noted, “‘[u]nless a proposed amendment may clearly

 be seen as futile . . . conjecture about the merits of the litigation should not enter into

 the decision whether to allow amendment.’” Lewis v. Jayco, Inc., 2019 U.S. Dist.

 LEXIS 148598, at *9 (E.D. Va. Aug. 29, 2019) (Lauck, J.) (emphasis original), quoting

 Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th Cir. 1980). Advon has not

 advanced any argument that hits this high benchmark, and so the Plaintiffs’ Motion

 for Leave to Amend should be granted.

                                           KEVIN COOK

                                           CABELL GOODMAN

                                           By Counsel

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of May 2025, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system, which will send a

 notification of such filing (NEF) to all counsel of record.

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